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                         IN THE UNITED STATES BANKRUPTCY COURT

                                  FOR THE DISTRICT OF DELAWARE

In re:                                                       ) Chapter 11
                                                             )
JAB Energy Solutions II, LLC,1                               ) Case No. 21-11226 (CGT)
                                                             )
                                   Debtor.                   )
                                                             )
                                                     Objection Deadline: February 22, 2022 at 4:00 p.m.
                                                     Hearing Date: To be scheduled if necessary




                    SECOND MONTHLY APPLICATION FOR
            COMPENSATION AND REIMBURSEMENT OF EXPENSES OF
             PACHULSKI STANG ZIEHL & JONES LLP, AS COUNSEL
                 FOR THE DEBTOR AND DEBTOR IN POSSESSION
       FOR THE PERIOD FROM OCTOBER 1, 2021 THROUGH OCTOBER 31, 2021

    Name of Applicant:                                   Pachulski Stang Ziehl & Jones LLP
    Authorized to Provide Professional Services
                                                         Debtor and Debtor in Possession
    to:
                                                         Effective nunc pro tunc to September 7, 2021
    Date of Retention:
                                                         by order signed on or about November 15, 2021
    Period for which Compensation and
                                                         October 1, 2021 through October 31, 2021
    Reimbursement is Sought:
    Amount of Compensation Sought as Actual,
                                                         $195,367.50
    Reasonable and Necessary:
    Amount of Expense Reimbursement Sought
                                                         $    2,165.57
    as Actual, Reasonable and Necessary:

This is a:       ☒monthly          ☐ interim         ☐ final application.

                 The total time expended for fee application preparation is approximately 3.0 hours

and the corresponding compensation requested is approximately $1,000.00.




1
  The last four digits of the Debtor’s U.S. tax identification number are 3625. The Debtor’s mailing address is
19221 I-45 South, Suite 324, Shenandoah, TX 77385.


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                                 PRIOR APPLICATIONS FILED

   Date          Period Covered        Requested       Requested       Approved       Approved
  Filed                                  Fees          Expenses          Fees         Expenses
 01/12/22      09/07/21 – 09/30/21     $234,341.50       $2,792.73        Pending        Pending


                                     PSZ&J PROFESSIONALS

         Name of                 Position of the Applicant,      Hourly   Total         Total
       Professional              Number of Years in that         Billing  Hours      Compensation
        Individual                Position, Prior Relevant        Rate    Billed
                              Experience, Year of Obtaining    (including
                                License to Practice, Area of    Changes)
                                         Expertise
 Laura Davis Jones           Partner 2000; Joined Firm 2000;    $1,445.00    26.60      $38,437.00
                             Member of DE Bar since 1986
 David M. Bertenthal         Partner 1999; Member of CA Bar     $1,275.00     1.10      $ 1,402.50
                             since 1993
 Maxim B. Litvak             Partner 2004; Member of TX Bar     $1,125.00    43.90      $49,387.50
                             since 1997; Member of CA Bar
                             since 2001
 Mary F. Caloway             Of Counsel 2020; Member of DE      $1,095.00    25.10      $27,484.50
                             Bar since 1992
 Jonathan J. Kim             Of Counsel 1999; Member of CA      $ 995.00     13.00      $12,935.00
                             Bar since 1995
 Colin R. Robinson           Of Counsel 2012; Member of NY      $ 925.00     56.30      $52,077.50
                             since 1997; Member of NJ & PA
                             Bars since 2001; Member of DE
                             Bar since 2010
 Patricia J. Jeffries        Paralegal 1999                     $   460.00    3.00      $ 1,380.00
 Patricia E. Cuniff          Paralegal 2000                     $   460.00   20.50      $ 9,430.00
 Karina K. Yee               Paralegal 2000                     $   460.00    0.80      $ 368.00
 Elizabeth C. Thomas         Paralegal 2016                     $   460.00    1.30      $ 598.00
 Cheryl A. Knotts            Paralegal 2000                     $   425.00    0.60      $ 255.00
 Andrea R. Paul              Case Management Assistant 2001     $   375.00    0.60      $ 225.00
 Charles J. Bouzoukis        Case Management Assistant 2001     $   375.00    1.10      $ 412.50
 Karen S. Neil               Case Management Assistant 2003     $   375.00    2.60      $ 975.00

                                     Grand Total:    $195,367.50
                                     Total Hours:         196.50
                                     Blended Rate:       $994.24




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                                 COMPENSATION BY CATEGORY

                 Project Categories                          Total Hours                    Total Fees
    Bankruptcy Litigation                                               65.10                    $66,981.00
    Case Administration                                                 11.20                    $ 5,595.00
    Claims Admin./Objections                                             0.30                    $ 294.50
    Compensation of Prof./Others                                         3.20                    $ 3,037.50
    Employee Benefit/Pension                                             0.90                    $ 600.00
    Financial Filings                                                   22.30                    $19,867.00
    Financing                                                           53.90                    $56,355.50
    General Creditors Comm.                                              7.90                    $ 8,839.50
    Meeting of Creditors                                                 9.70                    $12,005.00
    Plan & Disclosure Statement                                         13.90                    $14,144.50
    Retention of Professional                                            3.30                    $ 3,109.00
    Retention of Prof./Others                                            4.80                    $ 4,539.00


                                         EXPENSE SUMMARY

          Expense Category                           Service Provider2                             Total
                                                       (if applicable)                            Expenses
    Conference Call                      AT&T Conference Call                                        $107.12
    Delivery/Courier Service             Advita                                                      $ 7.50
    Express Mail                         Federal Express                                             $386.11
    Filing Fee                           File & ServeXpress                                          $ 81.00
    Legal Research                       Lexis/Nexis                                                 $ 37.14
    Court Research                       Pacer                                                       $411.40
    Postage                              US Mail                                                     $ 23.60
    Reproduction Expense                                                                             $448.20
    Reproduction/ Scan Copy                                                                          $504.50
    Research                             Cl@s Information Services                                   $159.00




2
  PSZ&J may use one or more service providers. The service providers identified herein below are the primary
service providers for the categories described.


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                         IN THE UNITED STATES BANKRUPTCY COURT

                                  FOR THE DISTRICT OF DELAWARE

In re:                                                     ) Chapter 11
                                                           )
JAB Energy Solutions II, LLC,1                             ) Case No. 21-11226 (CGT)
                                                           )
                                   Debtor.                 )
                                                           )
                                                     Objection Deadline: February 22, 2022 at 4:00 p.m.
                                                     Hearing Date: To be scheduled if necessary




                   SECOND MONTHLY APPLICATION FOR
            COMPENSATION AND REIMBURSEMENT OF EXPENSES
                OF PACHULSKI STANG ZIEHL & JONES LLP, AS
           COUNSEL FOR THE DEBTOR AND DEBTOR IN POSSESSION
      FOR THE PERIOD FROM OCTOBER 1, 2021 THROUGH OCTOBER 31, 2021

                 Pursuant to sections 330 and 331 of Title 11 of the United States Code (the

“Bankruptcy Code”) and Rule 2016 of the Federal Rules of Bankruptcy Procedure (collectively,

the “Bankruptcy Rules”), and the “Order Establishing Procedures for Interim Compensation and

Reimbursement of Expenses of Professionals,” signed on or about October 21, 2021

(“Administrative Order”), Pachulski Stang Ziehl & Jones LLP (“PSZ&J” or the “Firm”),

Counsel for the Debtor and Debtor in Possession, hereby submits its Second Monthly

Application for Compensation and for Reimbursement of Expenses for the Period from October

1, 2021 through October 31, 2021 (the “Application”).

                 By this Application PSZ&J seeks a monthly interim allowance of compensation

in the amount of $195,367.50 and actual and necessary expenses in the amount of $2,165.57 for

a total allowance of $197,533.07 and payment of $156,294.00 (80% of the allowed fees) and

1
  The last four digits of the Debtor’s U.S. tax identification number are 3625. The Debtor’s mailing address is
19221 I-45 South, Suite 324, Shenandoah, TX 77385.


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reimbursement of $2,165.57 (100% of the allowed expenses) for a total payment of $158,459.57

for the period October 1, 2021 through October 31, 2021 (the “Interim Period”). In support of

this Application, PSZ&J respectfully represents as follows:

                                                Background

                 1.          On September 7, 2021 (the “Petition Date”), the Debtor filed a voluntary

petition for relief under Chapter 11 of the Bankruptcy Code. The Debtor continues in possession

of its property and continues to operate and manage its business as debtor in possession pursuant

to sections 1107(a) and 1108 of the Bankruptcy Code. No trustee or examiner has been

appointed in the Debtor’s chapter 11 case.

                 2.          The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157

and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2).

                 3.          On or about October 21, 2021, the Court signed the Administrative Order,

authorizing certain professionals (“Professionals”) to submit monthly applications for interim

compensation and reimbursement for expenses, pursuant to the procedures specified therein.

The Administrative Order provides, among other things, that a Professional may submit monthly

fee applications. If no objections are made within twenty-one (21) days after service of the

monthly fee application the Debtor is authorized to pay the Professional eighty percent (80%) of

the requested fees and one hundred percent (100%) of the requested expenses. Beginning with

the period ending November 30, 2021 and at three-month intervals thereafter or such other

intervals convenient to the Court, each of the Professionals may file and serve an interim




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application for allowance of the amounts sought in its monthly fee applications for that period.

All fees and expenses paid are on an interim basis until final allowance by the Court.

                 4.          The retention of PSZ&J, as Counsel for the Debtor and Debtor in

Possession, was approved effective nunc pro tunc to September 7, 2021 by this Court’s “Order

Pursuant to Section 327(a) of the Bankruptcy Code, Rule 2014 of the Federal Rules of

Bankruptcy Procedure and Local Rule 2014-1 Authorizing the Employment and Retention of

Pachulski Stang Ziehl & Jones LLP as Counsel for the Debtor and Debtor in Possession Nunc

Pro Tunc to the Petition Date,” signed on or about November 15, 2021 (the “Retention Order”).

The Retention Order authorized PSZ&J to be compensated on an hourly basis and to be

reimbursed for actual and necessary out-of-pocket expenses.

                      PSZ&J’s APPLICATION FOR COMPENSATION AND
                           FOR REIMBURSEMENT OF EXPENSES

                                    Compensation Paid and Its Source

                 5.          All services for which PSZ&J requests compensation were performed for

or on behalf of the Debtor.

                 6.          PSZ&J has received no payment and no promises for payment from any

source other than the Debtor for services rendered or to be rendered in any capacity whatsoever

in connection with the matters covered by this Application. There is no agreement or

understanding between PSZ&J and any other person other than the partners of PSZ&J for the

sharing of compensation to be received for services rendered in this case. PSZ&J has received

payments during the year prior to the Petition Date in the amount of $100,000 in connection with

the preparation of initial documents and the prepetition representation of the Debtor. Upon final


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reconciliation of the amount actually expended prepetition, any balance remaining from the

payments to PSZ&J will be credited to the Debtor and utilized as PSZ&J’s retainer to apply to

postpetition fees and expenses pursuant to the compensation procedures approved by this Court

in accordance with the Bankruptcy Code. In addition, prior to the Petition Date, PSZ&J was

paid $75,000 for its services in connection with an Assignment for the Benefit of Creditors,

which has been concluded.

                                               Fee Statements

                 7.          The fee statements for the Interim Period are attached hereto as Exhibit A.

These statements contain daily time logs describing the time spent by each attorney and

paraprofessional during the Interim Period. To the best of PSZ&J’s knowledge, this Application

complies with sections 330 and 331 of the Bankruptcy Code and the Bankruptcy Rules.

PSZ&J’s time reports are initially handwritten by the attorney or paralegal performing the

described services. The time reports are organized on a daily basis. PSZ&J is particularly

sensitive to issues of “lumping” and, unless time was spent in one time frame on a variety of

different matters for a particular client, separate time entries are set forth in the time reports.

PSZ&J’s charges for its professional services are based upon the time, nature, extent and value

of such services and the cost of comparable services other than in a case under the Bankruptcy

Code. PSZ&J has reduced its charges related to any non-working “travel time” to fifty percent

(50%) of PSZ&J’s standard hourly rate. To the extent it is feasible, PSZ&J professionals attempt

to work during travel.




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                                      Actual and Necessary Expenses

                 8.          A summary of actual and necessary expenses incurred by PSZ&J for the

Interim Period is attached hereto as part of Exhibit A. PSZ&J customarily charges $0.10 per

page for photocopying expenses related to cases, such as this one, arising in Delaware. PSZ&J’s

photocopying machines automatically record the number of copies made when the person that is

doing the copying enters the client’s account number into a device attached to the photocopier.

PSZ&J summarizes each client’s photocopying charges on a daily basis.

                 9.          PSZ&J charges $.25 per page for out-going facsimile transmissions.

There is no additional charge for long distance telephone calls on faxes. The charge for outgoing

facsimile transmissions reflects PSZ&J’s calculation of the actual costs incurred by PSZ&J for

the machines, supplies and extra labor expenses associated with sending telecopies and is

reasonable in relation to the amount charged by outside vendors who provide similar services.

PSZ&J does not charge the Debtor for the receipt of faxes in this case.

                 10.         With respect to providers of on-line legal research services (e.g., LEXIS

and WESTLAW), PSZ&J charges the standard usage rates these providers charge for

computerized legal research. PSZ&J bills its clients the actual amounts charged by such

services, with no premium. Any volume discount received by PSZ&J is passed on to the client.

                 11.         PSZ&J believes the foregoing rates are the market rates that the majority

of law firms charge clients for such services. In addition, PSZ&J believes that such charges are

in accordance with the American Bar Association’s (“ABA”) guidelines, as set forth in the




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ABA’s Statement of Principles, dated January 12, 1995, regarding billing for disbursements and

other charges.

                                      Summary of Services Rendered

                 12.         The names of the partners and associates of PSZ&J who have rendered

professional services in this case during the Interim Period, and the paralegals and case

management assistants of PSZ&J who provided services to these attorneys during the Interim

Period, are set forth in the attached Exhibit A.

                 13.         PSZ&J, by and through such persons, has prepared and assisted in the

preparation of various motions and orders submitted to the Court for consideration, advised the

Debtor on a regular basis with respect to various matters in connection with the Debtor’s

bankruptcy case, and performed all necessary professional services which are described and

narrated in detail below. PSZ&J’s efforts have been extensive due to the size and complexity of

the Debtor’s bankruptcy case.

                                     Summary of Services by Project

                 14.         The services rendered by PSZ&J during the Interim Period can be grouped

into the categories set forth below. PSZ&J attempted to place the services provided in the

category that best relates to such services. However, because certain services may relate to one

or more categories, services pertaining to one category may in fact be included in another

category. These services performed, by categories, are generally described below, with a more

detailed identification of the actual services provided set forth on the attached Exhibit A. Exhibit

A identifies the attorneys and paraprofessionals who rendered services relating to each category,



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along with the number of hours for each individual and the total compensation sought for each

category.

             A.         Bankruptcy Litigation

                  15.        This category relates to work regarding motions and adversary

proceedings in the Bankruptcy Court. During the Interim Period, the Firm, among other things:

(1) performed work regarding orders on First Day Motions; (2) reviewed and analyzed

Committee document requests; (3) reviewed and analyzed a deposition transcript relating to

Kaufman; (4) prepared for and attended a hearing on First Day Motions on October 1, 2021;

(5) reviewed and analyzed a TOPS motion in the Black Elk proceedings; (6) performed work

regarding a stay violation letter to TOPS; (7) performed work regarding Agenda Notices and

Hearing Binders; (8) performed work regarding a document response to the Committee;

(9) performed work regarding a complaint for stay violation; (10) performed work regarding a

motion for preliminary injunction; (11) reviewed and analyzed issues regarding correspondence

from TOPS counsel relating to withdrawal of motion; (12) attended to scheduling issues;

(13) reviewed and analyzed issues regarding the withdrawal of the motion filed by TOPS in the

Black Elk case; (14) performed work regarding a scheduling order; (15) reviewed and analyzed

issues regarding a deposition request by TOPS; (16) prepared for and attended a hearing on

October 25, 2021; (17) reviewed and analyzed a term sheet from Black Elk regarding High

Island; and (18) conferred and corresponded regarding bankruptcy litigation issues.

                             Fees: $66,981.00;    Hours: 65.10




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             B.         Case Administration

                  16.        This category relates to work regarding administration of this case.

During the Interim Period, the Firm, among other things: (1) performed work regarding service

lists; (2) maintained a memorandum of critical dates; and (3) maintained document control.

                             Fees: $5,595.00;      Hours: 11.20

             C.         Claims Administration and Objections

                  17.        This category relates to work regarding claims administration and claims

objections. During the Interim Period, the Firm, among other things, reviewed and analyzed

issues regarding a BSEE survey, and reviewed and analyzed issues regarding the PBGC.

                             Fees: $294.50;        Hours: 0.30

             D.         Compensation of Professionals--Others

                  18.        This category relates to work regarding the compensation of professionals,

other than the Firm. During the Interim Period, the Firm, among other things: (1) performed

work regarding a motion for interim compensation procedures; (2) reviewed and analyzed

comments of the United States Trustee regarding the interim compensation procedures order, and

reviewed and revised the order; and (3) corresponded regarding compensation issues.

                             Fees: $3,037.50;      Hours: 3.20

             E.         Employee Benefits and Pensions

                  19.        This category relates to work regarding employee benefits, pensions and

other employee issues. During the Interim Period, the Firm, among other things, performed

work regarding an order on the wages motion.

                             Fees: $600.00;        Hours: 0.90


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             F.         Financial Filings

                  20.        This category relates to work regarding compliance with reporting

requirements. During the Interim Period, the Firm, among other things: (1) performed work

regarding Schedules and Statements; (2) reviewed and analyzed issues regarding an Initial

Debtor Interview (“IDI”); (3) performed work regarding an IDI binder; (4) prepared for and

attended an IDI; (5) performed work regarding Monthly Operating Reports; and

(6) corresponded and conferred regarding financial filings issues.

                             Fees: $19,867.00;     Hours: 22.30

             G.         Financing

                  21.        This category relates to issues regarding Debtor in Possession (“DIP”)

financing and use of cash collateral. During the Interim Period, the Firm, among other things:

(1) performed work regarding a notice of entry of interim order and final hearing on DIP

financing motion; (2) performed work regarding responses to Committee informal discovery

requests regarding DIP financing; (3) performed work regarding an interim DIP financing order;

(4) prepared for and attended a hearing on DIP financing issues on October 1, 2021; (5) drafted a

final DIP financing order; (6) performed work regarding negotiations with the Committee

regarding DIP financing issues; (7) performed work regarding budget issues; (8) reviewed and

analyzed the TOPS objection to DIP financing motion; (9) performed work regarding a reply in

support of DIP financing motion, and regarding a motion for leave to file reply; (10) performed

work regarding a response to TOPS counsel regarding requested loan documents; (11) reviewed

and analyzed a Committee statement in support of DIP financing; (12) prepared for and attended




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a hearing regarding approval of final DIP financing order; (13) reviewed and analyzed issues

regarding variance reports; and (14) conferred and corresponded regarding financing issues.

                             Fees: $56,355.50;     Hours: 53.90

             H.         General Creditors Committee

                  22.        This category relates to work regarding Committee issues. During the

Interim Period, the Firm, among other things: (1) performed work regarding a confidentiality

agreement; (2) reviewed and analyzed document and information requests from the Committee;

(3) performed work regarding the production of documents to the Committee; and (4) conferred

and corresponded regarding Committee issues.

                             Fees: $8,839.50;      Hours: 7.90

             I.         Meeting of Creditors

                  23.        This category relates to work regarding meeting of creditor issues. During

the Interim Period, the Firm, among other things, prepared for and attended a Section 341

meeting of creditors.

                             Fees: $12,005.00;     Hours: 9.70

             J.         Plan and Disclosure Statement

                  24.        This category relates to work regarding a Plan of Reorganization (“Plan”)

and Disclosure Statement. During the Interim Period, the Firm, among other things:

(1) reviewed and analyzed Plan issues; (2) performed work regarding a Plan and Disclosure

Statement; and (3) corresponded and conferred regarding Plan and Disclosure Statement issues.

                             Fees: $14,144.50;     Hours: 13.90




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             K.         Retention of Professionals

                  25.        This category relates to work regarding the retention of the Firm. During

the Interim Period, the Firm, among other things, performed work regarding its retention

application and order.

                             Fees: $3,109.00;      Hours: 3.30

             L.         Retention of Professionals--Others

                  26.        This category relates to work regarding the retention of professionals,

other than the Firm. During the Interim Period, the Firm, among other things, performed work

regarding the Stretto and Traverse retention applications.

                             Fees: $4,539.00;      Hours: 4.80

                                            Valuation of Services

                  27.        Attorneys and paraprofessionals of PSZ&J expended a total 196.50 hours

in connection with their representation of the Debtor during the Interim Period, as follows:

         Name of                    Position of the Applicant,          Hourly   Total          Total
       Professional                 Number of Years in that             Billing  Hours       Compensation
        Individual                   Position, Prior Relevant            Rate    Billed
                                 Experience, Year of Obtaining        (including
                                   License to Practice, Area of        Changes)
                                            Expertise
 Laura Davis Jones              Partner 2000; Joined Firm 2000;        $1,445.00     26.60       $38,437.00
                                Member of DE Bar since 1986
 David M. Bertenthal            Partner 1999; Member of CA Bar         $1,275.00      1.10       $ 1,402.50
                                since 1993
 Maxim B. Litvak                Partner 2004; Member of TX Bar         $1,125.00     43.90       $49,387.50
                                since 1997; Member of CA Bar
                                since 2001
 Mary F. Caloway                Of Counsel 2020; Member of DE          $1,095.00     25.10       $27,484.50
                                Bar since 1992
 Jonathan J. Kim                Of Counsel 1999; Member of CA          $ 995.00      13.00       $12,935.00
                                Bar since 1995



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         Name of                    Position of the Applicant,         Hourly   Total           Total
       Professional                 Number of Years in that            Billing  Hours        Compensation
        Individual                   Position, Prior Relevant           Rate    Billed
                                 Experience, Year of Obtaining       (including
                                   License to Practice, Area of       Changes)
                                            Expertise
 Colin R. Robinson              Of Counsel 2012; Member of NY         $ 925.00       56.30      $52,077.50
                                since 1997; Member of NJ & PA
                                Bars since 2001; Member of DE
                                Bar since 2010
 Patricia J. Jeffries           Paralegal 1999                        $     460.00    3.00      $ 1,380.00
 Patricia E. Cuniff             Paralegal 2000                        $     460.00   20.50      $ 9,430.00
 Karina K. Yee                  Paralegal 2000                        $     460.00    0.80      $ 368.00
 Elizabeth C. Thomas            Paralegal 2016                        $     460.00    1.30      $ 598.00
 Cheryl A. Knotts               Paralegal 2000                        $     425.00    0.60      $ 255.00
 Andrea R. Paul                 Case Management Assistant 2001        $     375.00    0.60      $ 225.00
 Charles J. Bouzoukis           Case Management Assistant 2001        $     375.00    1.10      $ 412.50
 Karen S. Neil                  Case Management Assistant 2003        $     375.00    2.60      $ 975.00

                                         Grand Total:       $195,367.50
                                         Total Hours:            196.50
                                         Blended Rate:         $994.24

                 28.         The nature of work performed by these persons is fully set forth in Exhibit

A attached hereto. These are PSZ&J’s normal hourly rates for work of this character. The

reasonable value of the services rendered by PSZ&J for the Debtor during the Interim Period is

$195,367.50.

                 29.         In accordance with the factors enumerated in section 330 of the

Bankruptcy Code, it is respectfully submitted that the amount requested by PSZ&J is fair and

reasonable given (a) the complexity of the case, (b) the time expended, (c) the nature and extent

of the services rendered, (d) the value of such services, and (e) the costs of comparable services

other than in a case under the Bankruptcy Code. Moreover, PSZ&J has reviewed the

requirements of Del. Bankr. LR 2016-2 and the Administrative Order and believes that this

Application complies with such Rule and Order.


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                 WHEREFORE, PSZ&J respectfully requests that, for the period of October 1,

2021 through October 31, 2021, an interim allowance be made to PSZ&J for compensation in the

amount of $195,367.50 and actual and necessary expenses in the amount of $2,165.57 for a total

allowance of $197,533.07 and payment of $156,294.00 (80% of the allowed fees) and

reimbursement of $2,165.57 (100% of the allowed expenses) be authorize for a total payment of

$158,459.57; and for such other and further relief as this Court deems proper.

Dated: February 1, 2022               PACHULSKI STANG ZIEHL & JONES LLP


                                      /s/ Laura Davis Jones_____________________
                                      Laura Davis Jones (DE Bar No. 2436)
                                      Colin R. Robinson (Bar No. 5524)
                                      919 North Market Street, 17th Floor
                                      P.O. Box 8705
                                      Wilmington, Delaware 19899 (Courier 19801)
                                      Telephone: (302) 652-4100
                                      Facsimile: (302) 652-4400
                                      Email: ljones@pszjlaw.com
                                              crobinson@pszjlaw.com

                                      Counsel to the Debtor and Debtor in Possession




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                                              DECLARATION

STATE OF DELAWARE    :
                     :
COUNTY OF NEW CASTLE :


                 Laura Davis Jones, after being duly sworn according to law, deposes and says:

                 a)          I am a partner with the applicant law firm Pachulski Stang Ziehl & Jones

LLP, and have been admitted to appear before this Court.

                 b)          I am familiar with the work performed on behalf of the debtor and debtor

in possession by the lawyers and paraprofessionals of PSZ&J.

                 c)          I have reviewed the foregoing Application and the facts set forth therein

are true and correct to the best of my knowledge, information and belief. Moreover, I have

reviewed Del. Bankr. LR 2016-2 and the Administrative Order signed on or about October 21,

2021 and submit that the Application substantially complies with such Rule and Order.



                                                /s/ Laura Davis Jones
                                                Laura Davis Jones




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